CoGBURN LAW OFFICES
2580 St. Rose Parkway, Suite 330, Henderson, Nevada 89074

Telephone: (702) 748-7777 | Facsimile: (702) 966-3880

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COGBURN LAW OFFICES
Jamie S. Cogburn, Esq.
Nevada Bar No. 8409
jsc@cogburnlaw.com

Erik W. Fox, Esq.

Nevada Bar No. 8804
efox@cogburnlaw.com

2580 St. Rose Parkway, Suite 330
Henderson, Nevada 89074
Telephone: (702) 748-7777
Facsimile: (702) 966-3880
Attorneys for Plaintiff

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
PHIL RAMOS, an individual,
Case Number
Plaintiff, 2:18-cv-01456-APG-PAL
vs.

THUNDERBIRD COLLECTION
SPECIALISTS, INC., an Arizona
Corporation,

Defendants.

 

 

STIPULATION AND ORDER TO DISMISS DEFENDANT THUNDERBIRD
COLLECTION SPECIALISTS, INC. WITH PREJUDICE

Plaintiff Phil Ramos, by and through his attorneys of record, Jamie S. Cogburn, Esq. and
Erik W. Fox, Esq. of Cogburn Law Offices, and Defendant Thunderbird Collection Specialist, Inc.,
by and through its attorneys of record, the law firm of Dickinson Wright PLLC, hereby stipulate

that all claims for relief in the above-captioned action be dismissed with prejudice.

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Case 2:18-cv-01456-APG-PAL Document 12 Filed 01/11/19 Page 2 of 2

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Dated this

COGBURN LAW OFFICES

By: \e SL, ul

Jamie S. Cogburn, Esq.
Nevada Bar No. 8409

Erik W. Fox, Esq.

Nevada Bar No. 8804

2580 St. Rose Parkway, Suite 330
Henderson, Nevada 89074
Attorneys for Plaintiff

IT IS SO ORDERED:

Respectfully supmytted by:
Dated this ie “day of January, 2019.

COGBURN LAW OFFICE;

we Le (e/

Jamie S. Cogburn, ES

Nevada Bar No. 8409

Erik W. Fox, Esq.

Nevada Bar No. 8804

2580 St. Rose Parkway, Suite 330
Henderson, Nevada 89074
Attorneys for Plaintiff

  

 

 

<day of January, 2019.

 

Plaintiff and Thunderbird Collection Specialists, Inc. shall bear their own attorney fees and

costs with respect to the claims dismissed hereby.

A
Dated this /; / t day of January, 2019.

DICKINSON WRIGHT PLLC

By: ~~ =Z>

Gabriel A. Blumberg, Esq. ae
Nevada Bar No. 12332

8363 West Sunset Rd., Suite 200

Las Vegas, Nevada 89119

Attorneys for Defendant,

Thunderbird Collection Specialists, Inc.

 

UNITED STATES MAGISTRATE JUDGE

 

DATE

Page 2 of 2

 
